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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA

United States of America
                                                   JUDGMENT IN A CRIMINAL CASE
    v.                                             (For Offenses Committed on or After November 1, 1987)



Gregory Keith Priore                               No. CR 04-00968-001-PHX-SMM

                                                   Mark J. Berardoni (Appointed)
                                                   Attorney for Defendant

USM#: 84145-008

THE DEFENDANT ENTERED A PLEA OF guilty on 7/12/2005 to the Information.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS
GUILTY OF THE FOLLOWING OFFENSE: violating Title 18, USC §371,
Conspiracy to Commit Mail Fraud, a Class D Felony offense, as charged in the
Information.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is hereby placed on
probation for a term of THREE (3) YEARS on the Information.

                          CRIMINAL MONETARY PENALTIES

The defendant shall pay to the Clerk the following total criminal monetary penalties:

  SPECIAL ASSESSMENT: $100.00                              FINE: $0
RESTITUTION: $12,381.12

The Court finds the defendant does not have the ability to pay a fine and orders
the fine waived.

If incarcerated, payment of criminal monetary penalties are due during imprisonment at a rate of not
less than $25 per quarter and payment shall be made through the Bureau of Prisons' Inmate Financial
Responsibility Program. Criminal monetary payments shall be made to the Clerk of U.S. District
Court, Attention: Finance, Suite 130, 401 West Washington Street, SPC 1, Phoenix, Arizona
85003-2118. Payments should be credited to the various monetary penalties imposed by the Court in
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the priority established under 18 U.S.C. § 3612(c). The total special assessment of $100.00 shall be paid
pursuant to Title 18, United States Code, Section 3013 for Count ONE of the Information.


Any unpaid balance shall become a condition of supervision and shall be paid within 90 days prior to the
expiration of supervision. Until all restitutions, fines, special assessments and costs are fully paid, the
defendant shall immediately notify the Clerk, U.S. District Court, of any change in name and address.
The Court hereby waives the imposition of interest and penalties on any unpaid balances.


Restitution shall be paid to the following victims in the following amounts: Ohio
Casualty Group in the amount of $12,381.12. The defendant shall make monthly
payments of $350.00 beginning 30 days after sentencing. Payments must be
completed 30 days prior to the expiration of probation. The Court hereby waives the
imposition of interest and penalties on any unpaid balance.

                        CONDITIONS OF SUPERVISION
For offenses committed on or after September 13, 1994: The defendant shall refrain
from any unlawful use of a controlled substance. Pursuant to 18 USC §3563(a)(5)
and 3583(d) the defendant shall submit to one drug test within 15 days of release
from imprisonment and such other periodic drug tests thereafter, as directed from
time to time by the probation officer.


The defendant shall not possess a firearm, ammunition or other dangerous weapon
as defined in 18 U.S.C. §921.
The defendant shall comply with the standard conditions of supervision adopted by
this Court in General Order 04-11:
1) You shall not commit another federal, state, or local crime during the term of
supervision.
2) You shall not leave the judicial district or other specified geographic area
      without the permission of the Court or probation officer.
3) You shall report to the Probation Office as directed by the Court or probation
      officer, and shall submit a truthful and complete written report within the first
      five days of each month.
4) You shall answer truthfully all inquiries by the probation officer and follow the
      instructions of the probation officer.
5) You shall support your dependents and meet other family responsibilities.
6) You shall work regularly at a lawful occupation unless excused by the probation
      officer for schooling, training, or other acceptable reasons.
7) You shall notify the probation officer at least ten days prior to any change of
      residence or employment.
8) You shall refrain from excessive use of alcohol and are subject to being
      prohibited from the use of alcohol if ordered by the Court in a special condition
      of supervision.
9) You shall not purchase, possess, use, distribute or administer any narcotic or
      other controlled substance as defined in section 102 of the Controlled
      Substances Act (21 U.S.C. § 801) or any paraphernalia related to such
      substances, without a prescription by a licensed medical practitioner.
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      Possession of controlled substances will result in mandatory revocation of your
      term of supervision.
10)   You shall not frequent places where controlled substances are illegally sold,
      used, distributed or administered, or other places specified by the Court.
11)   You shall not associate with any persons engaged in criminal activity, and shall
      not associate with any person convicted of a felony unless granted permission
      to do so by the probation officer.
12)   You shall permit a probation officer to visit at any time at home or elsewhere
      and shall permit confiscation of any contraband observed in plain view by the
      probation officer.
13)   You shall immediately notify the probation officer (within forty-eight (48) hours
      if during a weekend or on a holiday) of being arrested or questioned by a law
      enforcement officer.
14)   You shall not enter into any agreement to act as an informer or a special agent
      of a law enforcement agency without the permission of the Court.
15)   As directed by the probation officer, you shall notify third parties of risks that
      may be occasioned by your criminal record or personal history or
      characteristics, and shall permit the probation officer to make such notification
      and to confirm your compliance with such notification requirement.
16)   If you have ever been convicted of a felony, you shall refrain from possessing
      a firearm, ammunition, destructive device, or other dangerous weapon. If you
      have ever been convicted of a misdemeanor involving domestic violence, you
      shall refrain from possession of any firearm or ammunition. Possession of a
      firearm will result in mandatory revocation of your term of supervision. This
      prohibition does not apply to misdemeanor cases that did not entail domestic
      violence, unless a special condition is imposed by the Court.
17)   Unless suspended by the Court, you shall submit to one substance abuse test
      within the first 15 days of supervision and at least two periodic substance
      abuse tests thereafter, pursuant to 18 U.S.C. §§ 3563(a)(5) and 3583(d);
18)   If supervision follows a term of imprisonment, you shall report in person to the
      Probation Office in the district to which you are released within seventy-two
      (72) hours of release.
19)   You shall pay any monetary penalties as ordered by the Court. You will notify
      the probation officer of any material change in your economic circumstances
      that might affect your ability to pay restitution, fines, or special assessments.
The following special conditions are in addition to the conditions of supervised
release or supersede any related standard condition:
1.    You shall submit your person, property (including but not limited to computer,
      electronic devices, and storage media), residence, office, or vehicle to a search
      conducted by a probation officer, at a reasonable time and in a reasonable
      manner.
2.    You shall provide the probation officer access to any requested financial
      information.
3.    You are prohibited from making major purchases, incurring new financial
      obligations, or entering into any financial contracts without the prior approval
      of the probation officer.
4.    You shall complete 40 hours of community service at the rate of not less than
      4 hours per month as approved and directed by the probation officer, to be
      completed by 9/30/2007.
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5.     You are prohibited from owning, maintaining or using a firearm or other
       destructive device.
6.     You shall cooperate in the collection of DNA as directed by the probation
       officer.

THE COURT FINDS that you have been sentenced in accordance with the terms of
the plea agreement and that you have waived your right to appeal and to collaterally
attack this matter. The waiver has been knowingly and voluntarily made with a
factual basis and with an understanding of the consequences of the waiver.
The Court may change the conditions of probation or supervised release or extend
the term of supervision, if less than the authorized maximum, at any time during the
period of probation or supervised release. The Court may issue a warrant and
revoke the original or any subsequent sentence for a violation occurring during the
period of probation or supervised release.
IT IS FURTHER ORDERED that the Clerk of the Court deliver two certified copies
of this judgment to the United States Marshal of this district.


Date of Imposition of Sentence: Monday, September 19, 2005


                                     DATED this 21st day of September, 2005.




                                                 RETURN


I have executed this Judgment as follows:


Defendant delivered on                   to                                 at
     , the institution designated by the Bureau of Prisons, with a certified copy of this judgment in a
Criminal case.


                                                              By:
United States Marshal                                               Deputy Marshal

CC: USA/CNSL(Mark J. Berardoni)/PROB(2)/PTS/FIN/USM(2 certified)/Order
Book
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